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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
YAMELY GUERRERO,
Plaintiff,
v. Case No: 8:17-CV-134-T-27TGW

OB HOSPITALIST GROUP, LLC and
AMERIFINANCIAL SOLUTIONS, LLC,

Defendants.
/

ORDER OF DISMISSAL
BEFORE THE COURT is Plaintiff's Notice of Voluntary Dismissal With Prejudice (Dkt.
26). Accordingly, this action is DISMISSED with prejudice pursuant to Federal Rule of Civil
Procedure 41(a)(1)(A)(i). The Clerk is directed to CLOSE this file.
20"
DONE AND ORDERED this ' _ day of September, 2017.

J S D. WHITTEMORE
ted States District Judge

Copies to:
Counsel of Record
